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 1
                                                            The Honorable Marsha J. Pechman
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 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE

10 In re Washington Mutual, Inc. Securities,  )   No. 2:08-md-01919-MJP
   Derivative & ERISA Litigation              )
11                                            )   DEFENDANTS JOINT
                                              )   RESPONSE TO CERTAIN
12                                            )   PLAINTIFFS MOTION TO
                                              )   CONSOLIDATE AND
13                                            )   APPOINT INTERIM CO-LEAD
                                              )   COUNSEL
14                                            )
                                              )   Noted for Consideration:
15                                            )   March 28, 2008
                                              )
16                                            )
     GREGORY BUSHANSKY, Individually and on )
17   Behalf of All Others Similarly Situated, )
                                              )
18                                            )
                               Plaintiff,     )   No. C07-01874 (MJP)
19                                            )
            v.                                )
20                                            )
                                              )
21   WASHINGTON MUTUAL, INC., et al.,         )
                                              )
22                                            )
                               Defendants.    )
23                                            )
                                              )
24

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                                                                       Davis Wright Tremaine LLP
     DEFENDANTS JOINT RESPONSE TO CERTAIN PLAINTIFFS MOTION                     L AW O F FI CE S
                                                                        Suite 2200 1201 Third Avenue
     TO CONSOLIDATE ANDAPPOINT INTERIM CO-LEAD COUNSEL                   Seattle, Washington 98101-3045
     (No. 2:08-md-01919-MJP) 1                                        (206) 622-3150     Fax: (206) 757-7700
       Case 2:07-cv-01874-MJP Document 29 Filed 03/24/08 Page 2 of 7



 1 VINCENT BUSSEY, Individually and on Behalf )
   of All Others Similarly Situated,          )
 2                                            )
                              Plaintiff,      )   No. C07-01879 (MJP)
 3                                            )
           v.                                 )
 4                                            )
   WASHINGTON MUTUAL, INC., et al.,           )
 5                                            )
                              Defendants.     )
 6                                            )
                                              )
 7                                            )
   BARBARA ALEXANDER, Individually and on )
 8 Behalf of All Others Similarly Situated,   )
                                              )
 9                            Plaintiff,      )   No. C07-01906 (MJP)
                                              )
10         v.                                 )
                                              )
11 WASHINGTON MUTUAL, INC., et al.,           )
                                              )
12                            Defendants.     )
                                              )
13                                            )
                                              )
14 DARLENE MITCHELL, Individually and on      )
   Behalf of All Others Similarly Situated,   )
15                                            )
                              Plaintiff,      )   No. C07-01938 (MJP)
16                                            )
           v.                                 )
17                                            )
   WASHINGTON MUTUAL, INC., et al.,           )
18                                            )
                              Defendants.     )
19                                            )
                                              )
20                                            )
   MARINA WARE, Individually and on Behalf of )
21 All Others Similarly Situated,             )
                                              )
22                            Plaintiff,      )   No. C07-01997 (RAJ)
                                              )
23         v.                                 )
                                              )
24 WASHINGTON MUTUAL, INC., et al.,           )
                                              )
25                            Defendants.     )
                                              )
26                                            )
27

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                                                                    Davis Wright Tremaine LLP
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         Case 2:07-cv-01874-MJP Document 29 Filed 03/24/08 Page 3 of 7



 1 LEON ROSENBLATT, Individually and on        )
   Behalf of All Others Similarly Situated,    )
 2                                             )
                             Plaintiff,        ) No. C07-02025 (MJP)
 3                                             )
          v.                                   )
 4                                             )
   WASHINGTON MUTUAL, INC., et al.,            )
 5                                             )
                             Defendants.       )
 6                                             )
                                               )
 7                                             )
     MATT MCDONALD, Individually and on        )
 8   Behalf of All Others Similarly Situated,  )
                                               )
 9                             Plaintiff,      ) No. C07-2055 (MJP)
                                               )
10          v.                                 )
                                               )
11   WASHINGTON MUTUAL, INC., et al.,          )
                                               )
12                             Defendants.     )
                                               )
13                                             )
                                               )
14   DANA MARRA, Individually and on Behalf of )
     All Others Similarly Situated,            )
15                                             )
                               Plaintiff,      ) No. C07-2076 (MJP)
16                                             )
            v.                                 )
17                                             )
     WASHINGTON MUTUAL, INC., et al.,          )
18                                             )
                               Defendants.     )
19                                             )
                                               )
20
                                       I.     INTRODUCTION
21
            Defendants1 submit this response to the Motion for Consolidation and Appointment of
22
     Interim Co-lead Counsel (the Motion ) filed by Plaintiffs in the above-captioned Bushansky,
23
     Bussey, Alexander, Ware, McDonald, and Marra actions on March 13, 2008. Defendants concur
24
     in consolidation of the ERISA cases, and further recommend that the consolidated ERISA action
25
     1
26  For purposes of this response, Washington Mutual, Inc. ( WaMu ), Kerry K. Killinger, Stephen
   Rotella, James B. Corcoran, Daryl D. David, Anne V. Farrell, Stephen E. Frank, Thomas C.
27 Leppert, Charles M. Lillis, Phillip D. Matthews, Regina T. Montoya, Michael K. Murphy,
   Margaret Osmer-McQuade, Mary E. Pugh, William G. Reed, Jr., Orin C. Smith, James H. Stever,
28 Thomas Casey are collectively referred to as Defendants.
                                                                              Davis Wright Tremaine LLP
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     (No. 2:08-md-01919-MJP) 3                                               (206) 622-3150     Fax: (206) 757-7700
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 1 be coordinated for pretrial proceedings with a consolidated securities action and a consolidated

 2 derivative action. Defendants take no position on the portion of the Motion seeking appointment

 3 of a particular plaintiff or plaintiffs as lead plaintiff and the appointment of a specific law firm

 4 or firms as lead counsel. Defendants will work with whichever plaintiff and counsel the Court

 5 appoints in crafting an appropriate schedule for the Court s consideration.

 6                               II.    PROCEDURAL BACKGROUND

 7          The above-captioned putative ERISA class action lawsuits were filed in this Court on

 8 November 20, 2007 (Bushansky), November 21, 2007 (Bussey), November 29, 2007 (Alexander),

 9 December 5, 2007 (Mitchell), December 13, 2007 (Ware), December 18, 2007 (Rosenblatt),

10 December 21, 2007 (McDonald), and December 27, 2007 (Marra). In addition to these actions,

11 certain other plaintiffs have filed putative securities class actions and shareholder derivative

12 actions. On November 28, 2007, WaMu asked the United States Judicial Panel on Multidistrict

13 Litigation (the Panel ) to centralize the various ERISA, securities and derivative litigation in this

14 Court. The Panel granted WaMu s motion by order dated February 21, 2008. See In re

15 Washington Mutual, Inc. Securities, Derivative & ERISA Litigation, 2008 WL 495850,

16 ___ F. Supp. 2d ___ (J.P.M.L. 2008). Following the Panel s order centralizing all cases in this

17 Court, the Clerk of this Court opened a new docket (2:08-md-1919-MJP).

18          On March 13, 2003, the parties in the securities actions filed a Stipulation and Proposed

19 Order seeking (1) consolidation of the securities cases into a single docket, styled In re

20 Washington Mutual, Inc. Securities Litigation, (2) appointment of lead plaintiff and lead

21 plaintiff s counsel, and (3) an order requiring the filing of a consolidated, amended complaint and

22 setting out the briefing schedule for defendants motion(s) to dismiss [No. 2:08-md-01919-MJP,

23 Docket #3].

24          The parties to the federal shareholder derivative actions are currently negotiating a

25 stipulation with similar terms, based in large part on a stipulation and order entered in three related

26 shareholder derivative actions currently pending in the Superior Court of the State of Washington.

27 See Catholic Medical Mission v. Killinger, et al., No. 07-2-36548-6 SEA, Gibb v. Killinger, et al.,

28 No. 07-2-41044-9 SEA, and Breene v. Killinger, et al., No. 07-2-41042-2 SEA.
                                                                                  Davis Wright Tremaine LLP
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     (No. 2:08-md-01919-MJP) 4                                                   (206) 622-3150     Fax: (206) 757-7700
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 1                                          III.   ARGUMENT

 2            Defendants support consolidation of each of the ERISA cases identified in the Motion. As

 3 the United States Judicial Panel on Multidistrict Litigation ruled when granting WaMu s request to

 4 centralize the various securities, derivative and ERISA cases filed against WaMu in this Court and

 5 the U.S. District Court for the Southern District of New York, these actions involve common

 6 questions of fact, such that consolidation and/or coordination will serve the convenience of the

 7 parties and witnesses and promote the just and efficient conduct of this litigation. In re

 8 Washington Mutual, Inc. Securities, Derivative & ERISA Litigation, 2008 WL 495850, at *1,

 9 ___ F. Supp. 2d ___ (J.P.M.L. 2008).

10            Consolidation is a matter of convenience and economy in administration that does not

11 . . . change the rights of the parties. Johnson v. Manhattan Ry. Co., 289 U.S. 479, 496 97 (1933).

12 It may be ordered where the court in its discretion deems it appropriate and in the interests of

13 justice, United States v. Washington, 573 F.2d 1121, 1123 (9th Cir. 1978) (Kennedy, J.), bearing

14 in mind that considerations of judicial economy strongly favor simultaneous resolution of all

15 claims growing out of one event, Ikerd v. Lapworth, 435 F.2d 197, 204 (7th Cir. 1970); accord

16 Masterson v. Atherton, 223 F. Supp. 407, 409 10 (D. Conn. 1963) (consolidation should be

17 granted where common questions of law and fact are involved ), aff d, 328 F.2d 106 (2d Cir.
          2
18 1964).

19            Each of the ERISA cases identified in the Motion seeks recovery under the same statute,

20 against essentially the same defendants, based on allegations that are effectively the same. While

21 defendants dispute those allegations vigorously, all parties can agree that the just, speedy, and

22 inexpensive determination, Fed. R. Civ. P. 1, of the various ERISA cases will best be served by

23 consolidating the suits into one action, allowing whichever plaintiff the Court designates to file

24
     2
25   See also Johnson v. Miss. Valley Barge Line Co., 34 F.R.D. 140, 142 (W.D. Pa. 1963) ( It is
   fundamental that the law frowns upon multiplicity of litigation, particularly under our Federal
26 Rules of Civil Procedure, and particularly where the court may order the consolidation of all
   actions involving common questions of law or fact in order to avoid unnecessary costs and
27 delay. ); Weitort v. A. H. Bull & Co., 192 F. Supp. 165, 166 67 (E.D. Pa. 1961) ( [T]he purpose
   of permitting consolidation of actions under the Federal Rules [is] to encourage such consolidation
28 where possible. ).
                                                                                 Davis Wright Tremaine LLP
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 1 one consolidated complaint, and then addressing that complaint as a whole. In addition to

 2 conserving valuable judicial resources, this will avoid the possibility of inconsistent results and the

 3 prejudice that would arise there from.

 4          Sixteen cases subject to the Panel s order are now before this Court.3 Consolidation of the

 5 ERISA cases will facilitate the ultimate consolidation of all of the pending matters into three

 6 distinct groups       securities, derivative and ERISA (each with its own docket number and

 7 caption)     that can be coordinated for purposes of pretrial discovery, motion practice and the like.

 8 Further, in the absence of any opportunity for the parties to present the Court with a stipulated

 9 Case Management Order, the proposed preliminary schedule suggested in the Proposed Order,

10 ¶ 6(a), is premature at this time. Defendants will negotiate with whichever plaintiff is designated

11 by the Court as lead plaintiff concerning the scope and timing of discovery and motion practice.

12                                          IV.    CONCLUSION

13          For the reasons set out above, Defendants agree with the moving plaintiffs that the Court

14 should consolidate the eight ERISA cases pursuant to Federal Rule of Civil Procedure 42 under

15 one docket styled In re Washington Mutual ERISA Litigation. Defendants, however,

16 respectfully request the Court strike the proposed preliminary schedule suggested in the

17 Proposed Order, ¶ 6(a) pending the opportunity for defendants to work out a schedule after the

18 case is consolidated, and the lead plaintiff and its counsel appointed by the Court file an amended

19 complaint.

20

21 /        /        /

22

23 /        /        /

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25 /        /        /

26   3
    WaMu s motion before the Panel originally addressed seven cases. Twelve additional cases
27 were subsequently filed, and were noted by the Panel as potential tag-along actions. See In re
   Washington Mutual, Inc., 2008 WL 495850, at*1 n.1. All but three of those actions are now
28 before the Court.
                                                                                  Davis Wright Tremaine LLP
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       Case 2:07-cv-01874-MJP Document 29 Filed 03/24/08 Page 7 of 7



 1         Dated this 24th day of March 2008.

 2
                                                DAVIS WRIGHT TREMAINE LLP
 3 Of Counsel:

 4 SIMPSON THACHER & BARTLETT LLP               By: /s/ Steven P. Caplow_________
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 5 Mary Kay Vyskocil (pro hac vice)                Steven P. Caplow, WSBA #19843
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 7 Fax:     (212) 455-2502                         Fax:       (206) 757-7136
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 8          mvyskocil@stblaw.com                              stevencaplow@dwt.com
 9          -and-
10 Robert J. Pfister (pro hac vice)             Counsel for Defendant Washington Mutual,
   Gabriel D. Miller (pro hac vice)             Inc., and, for the limited purpose of filing this
11 1999 Avenue of the Stars, 29th Floor         response, Defendants Kerry K. Killinger,
   Los Angeles, California 90067                Stephen Rotella, James B. Corcoran, and
12 Tel.:     (310) 407-7500                     Daryl D. David.
   Fax:      (310) 407-7502
13 Email: rpfister@stblaw.com
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21                                              Counsel for Defendants Anne V. Farrell, Stephen
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22                                              Phillip D. Matthews, Regina T. Montoya, Michael
                                                K. Murphy, Mary E. Pugh, William G. Reed, Jr.,
23                                              Orin C. Smith, Thomas Casey, and James H.
                                                Stever
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